           Case 2:19-cv-00952-APG-BNW Document 49 Filed 11/02/20 Page 1 of 1




 1                               UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 TINA NGUYEN CRUZ,                                      Case No.: 2:19-cv-00952-APG-BNW

 4           Plaintiff                                Order Dismissing Case Without Prejudice

 5 v.

 6 KATE SPADE & COMPANY, LLC, 1

 7           Defendant

 8          Plaintiff Tina Nguyen Cruz filed this putative class action against Kate Spade &

 9 Company, LLC for inducing consumers into purchasing outlet merchandise with purported

10 illusory reference prices. On September 30, 2020, I granted Kate Spade’s motion to dismiss

11 because Cruz’s complaint failed to meet the heightened pleading standard for fraud claims, and

12 her unjust enrichment claim was barred. ECF No. 45. I allowed Cruz to file an amended

13 complaint by October 21, 2020. Id. at 10. I noted that if she did not file an amended complaint

14 by that date, the case would be closed. Id. Cruz did not file an amended complaint by the

15 deadline.

16          I THEREFORE ORDER that this case is dismissed without prejudice. The clerk of court

17 is instructed to close this case.

18          DATED this 2nd day of November, 2020.

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                                                        ANDREW P. GORDON
                                                        UNITED STATES DISTRICT JUDGE
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      Kate Spade & Company, LCC no longer exists and that Tapestry, Inc. is its successor. ECF
     No.43 at 1 n.1.
